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UN|TED STATES DlSTRlCT COURT
EASTERN DlSTRlCT OF LOU|S|ANA

OVLAS TRAD|NG, S.A.
P|aintiff,
VERSUS

SNOW CRYSTAL SH|PPING, LTD., *
HOLY HOUSE SHIPP|NG A.B., *
CR|T|CAL SH|PP|NG, LTD., *
CAPE REEFERS (PTY), LTD., *
UN|VERSAL REEFERS, LTD., *
HYRAM MAR|T|ME, S.A.L., *
COOPER T. SM|TH STEVEDORING CO, INC., *
COOPERICONSOLIDATED, & *
CSA EQUIPMENT COMPANY, L.L.C., *
NEW ORLEANS COLD STORAGE AND *
WAREHOUSE COMPANY, LTD. in personam *
& MN SNOW CRYSTAL, her engines, boilers, *
tackle, furniture, apparel, etc., in rem *

Defendants.

**‘k***'I‘*****************************

ClVlL ACT|ON

NO. 08-4681

SECT|ON “A” (2)

JUDGE
ZA|NEY

MAG.
WlLKlNSON

MEMORANDUM IN RESPONSE To SHOW CAUSE CALL DoCKET ORDER §ro. 191

ISSU§D BY HON._._IAY C. Z_AINEY FEBRUARY 2.'!'a 2009

MAY IT PLEASE THE COURT:

NOW INTO COURT, through undersigned counsel comes Plaintiff, cargo claimant,

Ovlas Trading, S.A. (“Ovlas”), and responds to this Court’s Call Docket Order (Doc. 19) and

 

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reports on the present status of this suit. After a Telephone Conference Call with counsel for all
parties on March 10, 2009, the below listed facts set forth the present status of the suit.
CALL DOCKET STATUS REPORT
l) A fire occurred aboard the M/V SNOW CRYS'I`AL on October 3, 2008 and two
other non-fire minor incidences on October 15 and 16, 2008 while the ship was moored at

Poland Street Wharf. The fire was extinguished, but the ship was delayed.

2) The fire resulted in cargo damage to frozen chicken loaded aboard and then
discharged and disposed of (estimated at $421,000.00). Vessel damage (estimated at

$275,000.00) and for a delay claim (estimated at $225,000.00).

3) Suit was filed by the cargo owner, 0vlas Trading, S.A. ["Ovlas"] (represented by
William E. O'Neil of The O'Neil Group, L.L.C.) on October l7, 2008 against a) the vessel
Owner, Snow Crystal Shipping, Ltd. ["Snow Crystal"] (represented by Kevin LaVie of Phelps
Dunbar), b) the Manager of the vessel, Holy House Shipping, A.B. [“Holy House”] (represented
by Kevin LaVie of Phelps Dunbar), c) the Time Charterer, Universal Reefers, Ltd. ["Universal"]
(represented by Dan Tadros of Chaffe McCall), d) the Voyage Charterer, Hyram Maritime,
S.A.L. ["Hyrarn"] (represented by Beauregard Gelpi of Wagner & Bagot), e) the Stevedore,
Cooper T. Smith, et al. ["Cooper"] (represented by Jason Waguespack and David Loria of
Galloway Johnson) and f) New Orleans Cold Storage and Warehouse Cornpany, Ltd. ["NOCS"]

(represented by Lawrence Abbott, Charles Abbott and Christine Bruneau of Abbott Sirnses).

4) Due to concern regarding ship departure, Plaintiff, 0vlas, filed Motion for
Expedited Depositions, Production of Documents and Inspection of Vessel and Attached

Documents (Doc 2), which the court granted (Docs 4 and 5). A Letter of Undertaking was

 

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issued to Ovlas and/or its underwriters on November 4, 2008 by the Assuranceforeningen Gard,

the P&I Club for the vessel. No Vessel arrest was necessary.

5) All Defendants have been served except for Critical Shipping, Ltd. and Cape
Reet`ers (PTY), Ltd. who, in all likelihood, will be dismissed without prejudice prior to a Fed. R.
Civ. P. 16 Scheduling Conference to be set by the Court. Answers, Cross Claims and Statement
of Corporate Disclosure has been filed by NOCS and Answer and Cross Claims by Cooper et al.,
with Answers and/or other pleadings or papers expected to be filed by the remaining Det`endants

no later than Tuesday, March l7, 2009.

6) Depositions of six crew members were taken dtm`ng October 20 and 22, 2008.

The depositions of stevedores and others are to be scheduled

7) During each of the depositions taken, the Owner, Time Charterer and Voyage
Charterer reserved all rights under applicable charter parties, including the right to arbitration, if

appropriate

8) The M/V SNOW CRYSTAL remained at the Poland Avenue Wharf from October
2, 2008 until approximately Novernber 19, 2008, at which time the Ovvner's Agents issued Bills

of Lading and the Vessel departed for ports in Africa.

9) Shortly after the fire, the Plaintiff and certain Defendants retained Fire Experts.
The Fire Experts, United States Coast Guard, New Orleans Fire Department and Bureau of
Alcohol, Tobacco, Firearms and Explosives’ investigator reports have not yet been issued, but

preliminary thoughts regarding tire causation by those who investigated are somewhat aligned

 

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10) All parties agree that based on information in hand, a Fed. R. Civ. P. 16
Scheduling Conference should be set any time after March 31, 2009 to establish discovery time,

cutoffs, motions, trial date, and parties to be dismissed

ll) All represented parties (hereinafter “parties”) have conferred and discussed, in
very general terms, the possibility of settlement, which may be aided by a conference with

Magistrate Wilkinson before further activity is incurred.

12) The key issues before the Court are the liability vel non of the parties and damage
supports The claims asserted by Plainti‘r`f include in rem and in personam claims including
claims against the Vessel, carriers, terminal operators and stevedores based on breach of duties,
negligence, unseaworthiness, res ipsa loquitor, breach of implied or express warranties of
workmanlike service, breach of maritime safety regulations, negligence per se and breach of

contract

13) Snow Crystal, Holy House, Universal and Hyram contend that each, individually,
is not liable, as the fire occurred without any negligence on the part of anyone for whom they
individually may be responsible Each intends to plead the U.S. Fire Statute, the COGSA Fire
Defense and the terms of all applicable charters, contracts of affreighment and bills of lading in
defense of these claims. Each intends to file cross claims against Cooper and NOCS for its
potential liability for the alleged cargo damage, its potential liability for the alleged damages

sustained as a result of the fire.

14) NOCS contends that it is not liable in this matter, as any injuries or damages
claimed by any other party to this case occurred without negligence or other culpability by

NOCS or anyone for whom it may be responsible NOCS intends to file a Motion for Summary

 

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Judgment on such grounds. NOCS pleaded multiple defenses within its Answer in this case and
reserves its right to rely on and assert any and all other defenses and assert cross-claims as they

become available by law and/or during discovery.

15) Cooper denies liability and asserts, among other defenses, that any damages were

caused by parties over whom Cooper had no control and for whom Cooper is not responsible

16) In the Telephone Conference Call held with Plaintiff and all parties on March lO,
2009, it was agreed that the information provided in this Memorandurn is preliminary and
submitted without prejudice to the parties filing additional pleadings, defenses, amendments,
motions or the like as the matter moves forward. Accordingly, the parties respectfully and
expressly reserve and do not waive any and all rights to which they are each entitled, including

but not limited to other claims, defenses and discovery.

CONCLUSION
It is respectfully requested that this Court, having received this Memorandum, will
schedule a Fed. R. Civ. P. l6(b) Scheduling Conference after March 31, 2009, at a date
convenient to the Court. l

Respectfully submitted,

THE O’NEIL GRoUP, L.L.C.

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CERTIFICATE OF SERVIC§
I DO HEREBY CERTIFY that on March, 12, 2009, a copy of the foregoing Memorandum was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to all counsel of record by operation of the Court’s electronic filing system.

BY: ls WilliamLO’Neil
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